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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

  CHRISTINE BRYANT on behalf of herself           )
  and all other persons similarly situated, known )
  and unknown,                                    )
                                                  )
                 Plaintiff,                       )          Case No. 1:19-cv-06622
                                                  )
        vs.                                       )          Honorable Virginia M. Kendall
                                                  )
  COMPASS GROUP USA, INC. and                     )
  365 RETAIL MARKETS, LLC,                        )
                                                  )
                Defendants.                       )

                                AGREED PROTECTIVE ORDER

         Plaintiff Christine Bryant, Defendant Compass Group USA, Inc. (“Compass Group”), and

Defendant 365 Retail Markets, Inc. (“365”) (each a “Party” and collectively the “Parties”) submit

that during the course of discovery it may be necessary to disclose certain confidential information

relating to the subject matter of this action and to obtain such information from third parties.

         Protection of the identified categories of confidential information is necessary because

Compass Group or third parties responding to a subpoena or request for information may produce

or disclose documents or information containing confidential, proprietary, or trade secret

information regarding its business practices and policies and the Parties may be required to

produce or disclose confidential financial or personally identifying information regarding

Plaintiffs or third parties.

         For good cause shown under Fed. R. Civ. P. 26(c), the Court grants the Parties’ joint request

and hereby enters the following Protective Order:

         1.     Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and


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information derived directly therefrom (hereinafter collectively “documents”), shall be subject to this

Order concerning Confidential Information as defined below. This Order is subject to the Local Rules of

this District and the Federal Rules of Civil Procedure on matters of procedure and calculation of time

periods.

           2.   Definition of Confidential Information. As used in this Order, “Confidential

Information” means information designated as “CONFIDENTIAL” by the producing party that

falls within one or more of the following categories: (a) information prohibited from disclosure by

statute; (b) information that reveals trade secrets; (c) research, business, technical, commercial or

financial information that the party has maintained as confidential; (d) medical information

concerning any individual; (e) personal identity information; (f) income tax returns (including

attached schedules and forms), W-2 forms and 1099 forms; or (g) personnel or employment

records of a person who is not a party to the case. Information or documents that are available to

the public may not be designated as Confidential Information.

           3.   Definition of Highly Confidential Information. As used in this Order, “Highly

Confidential Information” means Confidential Information designated as                     “HIGHLY

CONFIDENTIAL-ATTORNEYS’ EYES ONLY” by the producing party that is so sensitive that

access to it should be limited to the categories of persons identified in paragraph 7(c) of this Order.

           4.   Form and Timing of Designation. The producing party may designate documents

as containing Confidential Information or Highly Confidential Information and therefore subject

to protection under this Order by marking or placing the words “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL-ATTORNEYS’ EYES ONLY” (hereinafter “the marking”) on the document

and on all copies in a manner that will not interfere with the legibility of the document. As used

in this Order, “copies” includes electronic images, duplicates, extracts, summaries or descriptions

that contain the Confidential Information or Highly Confidential Information. The marking shall

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be applied prior to or at the time of the documents are produced or disclosed. Applying the

marking to a document does not mean that the document has any status or protection by statute

or otherwise except to the extent and for the purposes of this Order. Any copies that are made of

any marked documents shall also bear the marking, except that indices, electronic databases, or

lists of documents that do not contain substantial portions or images of the text of marked

documents and do not otherwise disclose the substance of the Confidential Information or Highly

Confidential Information are not required to be marked. The designation of a document as

confidential or highly confidential is a certification by an attorney that the document contains

Confidential Information or Highly Confidential Information as defined in this Order.

         5.    Depositions. Deposition testimony is protected by this Order only if designated as

such on the record at the time the testimony is taken, or within fifteen (15) days after receipt of the

deposition transcript by a designating party serving a Notice of Designation to all parties of record

identifying the specific portions of the transcript that are designated Confidential or Highly

Confidential Information, and thereafter those portions identified in the Notice of Designation shall

be protected under the terms of this Order. The failure to serve a timely Notice of Designation

waives any designation of deposition testimony as Confidential Information that was made on the

record of the deposition, unless otherwise ordered by the Court. Such designation must be specific

as to the portions of the transcript and/or any exhibits to be protected.

         6.    Protection of Confidential and Highly Confidential Material.

               (a)     General Protections. Confidential Information or Highly Confidential

Information shall not be used or disclosed by the parties, counsel for the parties or any other

persons identified in subparagraphs (b) or (c) for any purposes whatsoever other than in this

litigation, including any appeal thereof. In this putative class action, Confidential or Highly



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Confidential Information may be disclosed only to the named plaintiff and not to any other member

of the putative class unless and until a class including putative members has been certified.

               (b)    Limited Third-Party Disclosures of Confidential Information. The

parties and counsel for the parties shall not disclose or permit the disclosure of any Confidential

Information to any third person or entity except as set forth in subparagraphs (1)-(10). Subject to

these requirements, the following categories of persons may be allowed to review Confidential

Information:

               (1)    Parties. Individual parties and employees of a party but only to the
                      extent counsel determines in good faith that the employee’s
                      assistance is reasonably necessary to the conduct of the litigation in
                      which the information is disclosed;

               (2)    Counsel. Counsel for the parties and employees and agents of counsel who
                      have responsibility for the action, including any Court-appointed settlement
                      administrator;

               (3)    The Court and its personnel;

               (4)    Court reporters. Court reporters, recorders, and videographers
                      engaged for depositions;

               (5)    Contractors. Those persons specifically engaged for the limited
                      purpose of making copies of documents or organizing or processing
                      documents, including outside vendors hired to process electronically
                      stored documents;

               (6)    Consultants and Experts. Consultants, investigators, or experts
                      employed by the parties or counsel for the parties to assist in the
                      preparation and trial of this action but only after such persons have
                      completed the certification contained in Attachment A,
                      Acknowledgment of Understanding and Agreement to Be Bound;

               (7)    Witnesses at depositions. During their depositions, witnesses in
                      this action to whom disclosure is reasonably necessary. Witnesses
                      shall not retain a copy of documents containing Confidential
                      Information, except witnesses may receive a copy of all exhibits
                      marked at their depositions in connection with review of the
                      transcripts. Pages of transcribed deposition testimony or exhibits to
                      depositions that are designated as Confidential Information pursuant


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                       to the process set out in this Order must be separately bound by the
                       court reporter and may not be disclosed to anyone except as
                       permitted under this Order;

               (8)     Author or recipient. The author or recipient of the document (not
                       including a person who received the document in the course of
                       litigation);

               (9)     Mediator. Any mediator appointed by the Court or jointly selected
                       by the Parties; and

               (10)    Others by Consent. Other persons only by written consent of the
                       producing party or upon order of the Court and on such conditions
                       as may be agreed or ordered.

               (c)     Who May View Designated Highly Confidential Information. Except

with the prior written consent of the designating party or prior order of the court, designated Highly

Confidential Information may only be disclosed to the following persons:

               (1)     Counsel. Counsel for the parties and employees and agents of counsel,
                       including any Court appointed settlement administrator;

               (2)     The Court and its personnel;

               (3)     Court reporters. Court reporters, recorders, and videographers
                       engaged for depositions;

               (4)     Consultants and Experts. Consultants, investigators, or experts
                       employed by the parties or counsel for the parties to assist in the
                       preparation and trial of this action but only after such persons have
                       completed the certification contained in Attachment A,
                       Acknowledgment of Understanding and Agreement to Be Bound;

               (5)     Mediator. Any mediator appointed by the Court or jointly selected
                       by the Parties; and

               (6)     Author or recipient. The author or recipient of the document (not
                       including a person who received the document in the course of
                       litigation);




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                 (d)    Control of Documents. The parties must take reasonable efforts to prevent

unauthorized or inadvertent disclosure of documents designated as containing Confidential

Information or Highly Confidential Information pursuant to the terms of this Order.

           7.    Inadvertent Failure to Designate. Inadvertent failure to designate any document

or material as containing Confidential Information or Highly Confidential Information will not

constitute a waiver of an otherwise valid claim of confidentiality pursuant to this Order, so long

as a claim of confidentiality is asserted within seven days after discovery of the inadvertent

failure.

           8.    Filing of Confidential Information or Highly Confidential Information. This

Order does not, by itself, authorize the filing of any document under seal. Any party wishing to

file a document designated as Confidential Information in connection with a motion, brief or other

submission to the Court must comply with LR 26.2.

           9.     No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it

requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

           10.   Challenges to a Confidential Designation. The designation of any material or

document as Confidential Information or Highly Confidential Information is subject to challenge

by any Party, including a Party seeking to file Confidential Information with the Court. The

following procedure shall apply to any such challenge.

                 (a)    Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis for



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its belief that the confidentiality designation was not proper and must give the designating party an

opportunity to review the designated material, to reconsider the designation, and, if no change in

designation is offered, to explain the basis for the designation. The designating party must respond to the

challenge within five (5) business days.

                (b)     Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms of this Order.

         10.    Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

         11.    Use of Confidential Documents or Information at Trial or Hearing. Nothing in

this Order will be construed to affect the use of any document, material, or information at any trial

or hearing. A Party that intends to present or that anticipates that another Party may present

Confidential Information or Highly Confidential Information at a hearing or trial must bring that

issue to the attention of the Court and the other Parties without disclosing the Confidential

Information or Highly Confidential Information. The Court may thereafter make such orders as

are necessary to govern the use of such documents or information at the hearing or trial.

         12.    Confidential Information Subpoenaed or Ordered Produced in Other

Litigation. If a receiving party is served with a subpoena or an order issued in other litigation

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that would compel disclosure of any material or document designated in this action as

Confidential Information or Highly Confidential Information, the receiving party must so notify

the designating party, in writing, immediately and in no event more than seven business days after

receiving the subpoena or order. Such notification must include a copy of the subpoena or court

order. The receiving party also must immediately inform in writing the party who caused the

subpoena or order to issue in the other litigation that some or all of the material covered by the

subpoena or order is the subject of this Order. In addition, the receiving party must deliver a copy

of this Order promptly to the party in the other action that caused the subpoena to issue. The

purpose of imposing these duties is to alert the interested persons to the existence of this Order and

to afford the designating party in this case an opportunity to try to protect its Confidential

Information in the court from which the subpoena or order issued. The designating party bears the

burden and the expense of seeking protection in that court of its Confidential Information or Highly

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the Party has in its possession,

custody, or control Confidential Information or Highly Confidential Information by the other Party

to this case.

         13.    Obligations on Conclusion of Litigation.

                (a)    Order Remains in Effect. Unless otherwise agreed or ordered, all

provisions of this Order will remain in effect and continue to be binding after conclusion of the

litigation.

                (b)    Return of Confidential Documents. Within 90 days after this litigation

concludes by settlement, final judgment, or final order, including all appeals, all documents



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designated as containing Confidential Information or Highly Confidential Information, including

copies as defined above, must be destroyed or returned to the Party who previously produced the

document unless the document has been offered into evidence or filed without restriction as to

disclosure.

               (c)     Retention of Work Product. Notwithstanding the above requirements to

return or destroy documents, counsel may retain attorney work product, including an index which

refers or relates to designated Confidential Information or Highly Confidential Information, so

long as that work product does not duplicate verbatim substantial portions of the text or images

of designated documents. This work product will continue to be confidential under this Order.

An attorney may use his or her own work product in subsequent litigation provided that its use

does not disclose Confidential Information or Highly Confidential Information.

               (d)     Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

Court.

         13.   Order Subject to Modification. This Order is subject to modification by the Court

on its own initiative or on motion of any Party or any other person with standing concerning the

subject matter. The Order must not, however, be modified until the Parties have been given notice

and an opportunity to be heard on the proposed modification.

         14.   No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery. Nothing

herein shall be construed or presented as a judicial determination that any document or material

designated Confidential Information by counsel or the parties is entitled to protection under Rule




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26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule

on a specific document or issue

         15.   Persons Bound by Protective Order. This Order will take effect when entered

and is binding upon all counsel of record and their law firms, the Parties, and persons made subject

to this Order by its terms.

         16.   Inadvertent Disclosure of Confidential Information Covered by Attorney-

Client Privilege or Work Product. The inadvertent disclosure or production of any information

or document that is subject to an objection on the basis of attorney-client privilege or work-product

protection, including, but not limited, to information or documents that may be considered

Confidential Information or Highly Confidential Information under the Protective Order, will not

be deemed to waive a Party's claim to its privileged or protected nature or estop that Party or the

privilege holder from designating the information or document as attorney-client privileged or

subject to the work product doctrine at a later date. Any party receiving any such information or

document must return it upon request to the producing party. Upon receiving such a request as to

specific information or documents, the receiving party must return the information or documents to

the producing party within 7 days, regardless of whether the receiving party agrees with the claim

of privilege and/or work-product protection. Disclosure of the information or document by the

other party prior to such later designation will not be deemed a violation of the provisions of this

Order. The provisions of this section constitute an order pursuant to Rules 502(d) and (e) of the

Federal Rules of Evidence.

         17.   Third-Party Subpoena Recipients. This Section applies to each third-party who

receives a subpoena seeking putative settlement class member contact information (hereinafter

“third-party subpoena recipients”). All such information produced by third-party subpoena



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recipients shall be deemed “Confidential Information” as set forth in this Order. Plaintiff’s counsel

share not share the information produced by third-party subpoena recipients with Plaintiff or any

third-parties other than the settlement administrator retained to administer any settlement that may

be granted preliminary approval in this litigation (the “Settlement Administrator”). Plaintiff’s

counsel shall not use information produced by third-party subpoena recipients for any purpose

other than for facilitating the settlement process in this litigation. The Settlement Administrator

shall not share any of the contact information received from the third-party subpoena recipients

with any individuals or entities outside of its organization, including Plaintiff, and will use the

information solely for the purposes of issuing notices to the putative settlement class members.

Once all funds in this action have been dispersed, the Settlement Administrator shall destroy all

copies in its possession of the contact information provided by the third-party subpoena recipients.

Plaintiff’s counsel may retain contact information provided by third-party subpoena recipients as

necessary to comply with Illinois Supreme Court Rule 769. Nothing herein shall prevent any third-

party subpoena recipient from seeking to quash or modify such subpoena on any ground.

IT IS SO ORDERED.



Date: _November 3, 2021                       ______________________________________
                                              Virginia M. Kendall
                                              U.S. District Court Judge




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 WE SO MOVE                                   WE SO MOVE
 and agree to abide by the                    and agree to abide by the
 terms of this Order                          terms of this Order

s/ Zachary Floweree (with consent)            s/ Joseph C. Wylie II
 Signature                                    Signature

Zachary Flowerree                             Joseph C. Wylie II
 Printed Name                                  Printed Name
 Counsel for Christine Bryant,                Counsel for Compass Group USA, Inc.
 on behalf of herself and the proposed
 Class                                        Dated: November 2, 2021

 Dated: November 2, 2021



 WE SO MOVE
 and agree to abide by the
 terms of this Order

 s/ Jad Sheikali (with consent)
 Signature

 Jad Sheikali
 Printed Name
 Counsel for 365 Retail Markets, LLC

 Dated: November 2, 2021




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                                        ATTACHMENT A

                                ACKNOWLEDGMENT AND
                                AGREEMENT TO BE BOUND

         The undersigned hereby acknowledges that he/she has read the Protective Order dated

 ___________________________ , 2021, in the case captioned, Christine Bryant, on behalf of

herself and all others similarly situated v. Compass Group USA, Inc., attached hereto, understands

the terms thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction

of the United States District Court for the Northern District of Illinois, Eastern Division in matters

relating to this Protective Order and understands that the terms of the Protective Order obligate

him/her to use materials designated as Confidential Information or Highly Confidential

Information in accordance with the Order solely for the purposes of the above-captioned action,

and not to disclose any such Confidential Information or Highly Confidential Information to any

other person, firm, or concern, except in accordance with the provisions of the Protective Order.

         The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.


Name:
Job Title:
Employer:
Business Address:


Date:
Signature:




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